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                          United States District Court
                           Middle District of Florida
                               Orlando Division

 CHRISTOPHER E. DORWORTH,

            Plaintiff,

 v.                                        NO. 6:23-00871

 JOEL MICAH GREENBERG,
 ANDREW W. GREENBERG, SUSAN
 GREENBERG, ABBY GREENBERG,
 AWG, INC., GREENBURG DENTAL
 ASSOCIATES, LLC, GREENBERG
 DENTAL & ORTHODONTICS, P.A.,
 GREENBERG DENTAL SPECIALTY
 GROUP, LLC, and A.B.,

            Defendants.
 ________________________________________________________________________

           DEFENDANT A.B.’S MOTION FOR LEAVE TO REPLY
 ________________________________________________________________________




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       Pursuant to Local Rule 3.01(d), Defendant A.B., by and through her counsel,

 hereby requests leave to reply to Plaintiff’s Omnibus Memorandum of Law in

 Opposition to Defendants’ Motions to Dismiss Verified Amended Complaint

 (“Response”), and states as follows:

                                 LEGAL STANDARD

       “The purpose of a reply brief is to rebut any new law or facts contained in the

 opposition’s response to a request for relief before the Court.” Weiss v. AT&T Inc.,

 2023 WL 3092631, at *1 (M.D. Fla. Apr. 26, 2023) (quoting Tardif v. People for Ethical

 Treatment of Animals, 2011 WL 2729145, at *2 (M.D. Fla. July 13, 2011)). A Court

 should “grant leave to file a reply brief where the reply will benefit the Court’s

 resolution of the pending motion.” Id. (citing Schumann v. Collier Anesthesia, P.A., 2014

 WL 1230644, at *4 n.3 (M.D. Fla. Mar. 25, 2014)).

       In this case, A.B.’s proposed reply brief is appropriate to respond to numerous

 new issues of law raised by Plaintiff in his Response, often confusedly. The proposed

 reply would assist the Court in determining these issues, particularly where Plaintiff’s

 new legal arguments are irrelevant to the points raised in A.B.’s Motion to Dismiss,

 legally unsupported, or in at least one instance, entirely counter to law.

       For instance, Plaintiff thoroughly confuses the relevant analysis surrounding the

 statute of limitations for his defamation claim. In his Response, Plaintiff suggests that

 Wagner, Nugent, Johnson, Roth, Romano, Erikson, & Kupfer, P.A. v. Flanagan, 629 So.2d

 113, 114-15 (Fla. 1993), which rejected the discovery rule for defamation claims, has

 been undermined by two district courts (one state and one federal) which applied the


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 “multiple publication rule” rather than the “single publication rule” in some cases. See

 Resp. at 59-60. Even if true, this is irrelevant to A.B.’s arguments in her Motion; A.B.

 never argued that Plaintiff lacks a recovery if the very first publication of A.B.’s alleged

 defamation is outside of the statute of limitations. Instead, she argued that the statute

 of limitations applies separately to each individual publication. See e.g., Mot. at 6

 (“Therefore, the statute of limitations on defamation actions runs two years after any

 associated publication.” (emphasis added)). This is, in fact, more similar to the multiple

 publication rule that Plaintiff seeks to apply. But Plaintiff suggests that this (unrelated)

 dispute about which publication rule applies undermines Wagner’s holding that a

 publication must itself occur within the limitations period, which is incorrect as a

 matter of law.1 Plaintiff also cites to a Florida statute that he contends tolled his statute

 of limitations, though it contains a clear exception that would apply in this case. See

 Mot. at 62 n.82. A.B. should have the opportunity to respond to Plaintiff’s inapposite

 sidetracks through the law surrounding limitations in order to clarify the actual

 disputes at issue.

        Plaintiff further introduces two theories, never raised in either of his

 Complaints, regarding his injuries from A.B.’s alleged defamation. He suggests for

 the first time that the alleged report of truthful information regarding the investigation



 1 Plaintiff also misquotes A.B.’s Motion to argue that “A.B. acknowledges that
 damages are an element that must occur within the limitations period,” suggesting
 that the limitations period runs from the injury rather than the publication. Mot. at
 61 n.79. In his quotation from A.B.’s Motion, Plaintiff italicizes a portion of the
 language without noting his modification, giving the sentence a different meaning.



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 into his conduct constituted false-impression defamation, Resp. at 62 n.2, and he argues

 that the injury he suffered when he voluntarily resigned from his job was the result of

 “compelled self-defamation,” id. at 61-62. The latter argument in particular warrants

 a reply as, Plaintiff’s statements in the Response notwithstanding, Florida courts have

 rejected such a theory. See Valencia v. Citibank Int’l, 728 So.2d 330, 330-31 (Fla. 3d

 Dist. App. 1999) (“We hold that Florida law does not provide for [the compelled self-

 defamation exception] to the publication requirement of defamation nor are we

 prepared to create such an exception.”).

       Finally, Plaintiff attempts in his Response to bolster his Verified Amended

 Complaint (“FAC”) without receiving the necessary leave from this Court. As an

 example, Plaintiff minimizes the importance of an article cited in the FAC (which A.B.

 showed did not result from her own statements, see Mot. at 9-10) by describing it as

 “merely an example of the many articles” that allegedly caused him injury and stating

 that he can “easily provide other examples in any amended pleading.” Resp. at 56-57

 n.70. In other words, Plaintiff relies on the existence of matters he did not include in

 either Complaint to bolster his claims, which remain unidentified. Similarly, Plaintiff

 for the first time identifies the particular predicate acts he claims A.B. committed.

 Resp. at 36 n.36. Based on the FAC itself, it is impossible to determine which statutes,

 set forth in 21 paragraphs, Plaintiff alleges A.B., specifically, violated. See FAC ¶¶ 234-

 54.

       For the reasons set forth above, Defendant A.B. respectfully requests leave to

 file a seven-page reply in support of her Motion on or before November 3, 2023.


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 Dated: October 25, 2023                  Respectfully submitted,

                                          s/ Stephen Shaw

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 * Pro hac vice admission




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                      LOCAL RULE 3.01(g) CERTIFICATION

       On October 25, 2023, counsel for Defendant A.B. conferred with counsel for

 Plaintiff via email on the issues raised in this Motion. Plaintiff opposes the sought

 relief and indicated his intention to file a written response to this Motion.


                                                 s/ Stephen Shaw

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                           CERTIFICATE OF SERVICE


       I hereby certify that on October 25, 2023, a copy of the foregoing document was

 served on the following counsel of record:


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